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1    BENJAMIN B. WAGNER
     United States Attorney
2    KIRK E. SHERRIFF
     HENRY Z. CARBAJAL III
3    Assistant United States Attorneys
     2500 Tulare Street, Suite 4401
4    Fresno, CA 93721
     Telephone: (559) 497-4000
5    Facsimile: (559) 497-4099
6    Attorneys for Plaintiff
     United States of America
7

8                                 IN THE UNITED STATES DISTRICT COURT
9                                    EASTERN DISTRICT OF CALIFORNIA
10
     UNITED STATES OF AMERICA,                            CASE NO. 1:10-CR-00249 AWI BAM
11
                                   Plaintiff,             STIPULATION AND ORDER
12                                                        CONTINUING SENTENCING HEARING
13                           v.                           Old Date:       Feb. 2, 2015
                                                          Old Time:       10:00am
14
     EVELYN BRIGGET SANCHEZ, and                          New Date:   March 2, 2015
15   DARLING ARLETTE MONTALVO,                            New Time: 10:00am
                                                          Court:      Two
16                                Defendants.              (Hon. Anthony W. Ishii)
17

18

19          Defendants EVELYN BRIGGET SANCHEZ and DARLING ARLETTE MONTALVO were
20   convicted at trial in this case on Nov. 21, 2014. Sentencing for both defendants is currently set for
21   February 2, 2015, at 10:00 a.m.
22          The parties require and respectfully request additional time to present information to the
23   Probation Office and the court regarding sentencing matters, and the Probation Office has also indicated
24   to the parties that it will require additional time to review such materials and to prepare the presentence
25   report in this case. Accordingly, the parties hereby stipulate and jointly request that the Court order that
26   the sentencing hearing in this case be continued for one month from February 2, 2015 to March 2, 2015.
27   The parties further stipulate and jointly request that the Court extend the deadline to submit informal
28   objections to the Pre-Sentence Report (PSR) to three weeks prior to the continued sentencing date, and

      Stipulation & Order                                 1
      Continuing Sentencing Hearing
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1    extend the deadline to file formal objections to the PSR to one week prior to the continued sentencing
2    date.
3            IT IS SO STIPULATED.
4    Dated: Dec. 18, 2014                                    BENJAMIN B. WAGNER
                                                             United States Attorney
5
                                                             /s/ Kirk E. Sherriff
6                                                            KIRK E. SHERRIFF
                                                             HENRY Z. CARBAJAL III
7                                                            Assistant United States Attorneys
8

9    Dated: Dec. 18, 2014                                 /s/ James Homola
                                                          (authorized on 12/18/14)
10                                                        JAMES HOMOLA
                                                          Attorney for defendant
11                                                        Evelyn Brigget Sanchez
12

13   Dated: Dec. 18, 2014                                 /s/ Eric V. Kersten
                                                          (authorized on 12/18/14)
14                                                        ERIC V. KERSTEN
                                                          Attorney for defendant
15                                                        Darling Arlette Montalvo
16
                                                     ORDER
17
             The Court has reviewed and considered the stipulation of the parties to continue the sentencing
18
     hearing in this case. Good cause appearing, IT IS ORDERED that the sentencing hearing is continued
19
     from February 2, 2015 to March 2, 2015, at 10:00 a.m., and that the deadlines to submit informal
20
     objections and to file formal objections to the Pre-Sentence Report are extended as set forth above.
21

22
     IT IS SO ORDERED.
23
     Dated: December 18, 2014
24                                               SENIOR DISTRICT JUDGE
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27

28

      Stipulation & Order                                2
      Continuing Sentencing Hearing
